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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION

          GENESYS CLOUD SERVICES, INC.,                   )
                                                          )
                                  Plaintiff,              )
                                                          )
                  vs.                                     ) Civil Case No. 1:19-CV-695-TWP-MKK
                                                          )
          TALKDESK, INC., et al.,                         )
                                                          )
                                  Defendants.             )


                     Defendants’ Notice of Additional Authority on Objection to
                               “Independent Discovery” Instruction

          Defendants Talkdesk, Inc. (“Talkdesk”), Ralph Manno, Michael Strahan, and Mark

   Hertel (collectively, “Defendants”) submit the following additional comments on the Plaintiff’s

   proposed jury instruction on “Independent Discovery” of a trade secret, see D.I. 426 at 62.

          Plaintiff contends that its instruction is “copied verbatim” from the ABA Model Jury

   Instruction 8.3.1.a. Defendants do not dispute the instruction is verbatim from the Model

   Instructions, but we maintain that it is inappropriate in the situation presented by the facts of this

   case. The instruction is appropriate when a party claims that it independently “discovered the

   secret through their own efforts.” The forthcoming Trade Secret Case Management Judicial

   Guide, submitted as a draft to the Federal Judicial Center, explains that the idea of “independent

   discovery” applies where two or more parties “discover,” “invent[],” or “reverse engineer” the

   same secret, independently, such that each party can own the same trade secret:

              The first time a trade secret is rediscovered, there are two owners of the same
          trade secret …. To be “independent” in this context, acquisition of the secret must
          not be derived from knowledge gained in confidence, directly or indirectly, from
          the secret’s owner, or from knowledge gained by espionage or other improper
          means. In general, independent discovery occurs in one of two ways: either the


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           new discoverer was engaged in a similar business or research and its parallel path
           happened to lead to the same place; or a competitor decided to “reverse engineer”
           the secret from publicly available information or products. Either way, the result
           is that the new discoverer has acquired its own information and is not liable to the
           original owner and is under no legal requirement to keep the information secret.

   Peter S. Menell, et al., TRADE SECRET CASE MANAGEMENT JUDICIAL GUIDE § 2.5.1 (forthcoming

   2023) (emphasis added), available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=

   4360102.1 The draft Judicial Guide explains that independent discovery is an affirmative defense

   where “the defendant bears the burden of proof, similar to reverse engineering.” Id. (citing,

   among others, Raytheon Co. v. Indigo Sys. Corp., 895 F.3d 1333 (Fed. Cir. 2018) (crediting

   evidence of independent invention by a former employee after he left plaintiff’s employ)).

           The primer in the Judicial Guide is in accord with the authority cited in the comment to

   the ABA Model Instruction 8.3.1.a proposed by Plaintiff. That comment cites the Restatement

   (Third) of Unfair Competition § 40 cmt. a (1995) for the proposition that “each of several

   independent discoverers can have a proprietary interest in the same information.” 397 Model

   Jury Instructions, Business Tort Litigation, ABA Section of Litigation, 8.3.1.a (4th ed. 2005).2

           Here, no party is asserting that anyone “interpedently discovered” a trade secret. The

   defense here is not that any of the Defendants “discovered” a secret and now has its own




   1
    As explained in a recent guest post on a prominent intellectual property law blog, the draft has been
   submitted “to the Federal Judicial Center for publication within its resource library for federal judges.”
   Prof. Peter S. Menell, Introducing the Trade Secret Case Management Judicial Guide, PATENTLY-O,
   https://patentlyo.com/patent/2023/02/introducing-management-judicial.html (Feb. 17, 2023).
   2
     The Seventh Circuit case cited as Plaintiff’s authority for its proposed instruction, Fail-Safe, LLC v.
   A.O. Smith Corp., 674 F.3d 889, 893 (7th Cir. 2012), cited in D.I. 426 at 62, does not address
   “independent discovery.” Rather the Court of Appeals affirmed the district court’s finding that the
   plaintiff “failed to take reasonable steps” to maintain the alleged secret because there was “no evidence
   that a confidential relationship existed” without a confidentiality agreement to protect secrecy between
   businesses. Id. at 893–94.


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   “proprietary interest” in such secret—no matter which of the four “secrets” at issue you look at.

   No party has asserted that any defendant independently discovered the “PureCloud list,” or that

   there was a “discovery” or reverse engineering of Genesys employees’ “personnel information.

   Likewise, the “independent discovery” instruction does not apply to the Uber Win Email or the

   Discount Information.

          Each of the four alleged trade secrets was either secret or not; generally known or not,

   ascertainable with reasonable ease from publicly available information or not; acquired through

   proper means or not; etc. The other instructions sufficiently instruct the jury on these issues.

   Thus, the safe harbor Plaintiff seeks with its proposed charge—that it could still protect the

   alleged secret “even though others have discovered their secret through their own efforts”—is

   unavailable. There is no independent development to trigger that question. Indeed, adding the

   proposed Independent Discovery charge to the Secrecy instruction would be cumulative and/or

   cause confusion—they address two sides of the same coin. But there is only one side at issue in

   this case. The instruction is inappropriate.


   Date: March 8, 2023                            Respectfully submitted,

                                                         /s/ David S. Moreland

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